Filed 11/20/24                                     Case 19-01033                                              Doc 752



                                       UNITED STATES BANKRUPTCY COURT
                                       EASTERN DISTRICT OF CALIFORNIA


            In re                                          ) Case No.: 18-11651 - B - 11
            Gregory John te Velde,                         ) Adv No.: 19-01033
                       Debtor.                             ) Docket Control No.: CAE-1
                                                           ) Document No.: 163
                                                           )
                                                           )
            Sugarman,                                      ) Date: 11/20/2024
                       Plaintiff,                          ) Time: 11:00 AM
            v.                                             ) Dept: B
            IRZ Consulting, LLC et al.,                    )
                       Defendants.                         )
                                                           )



                                                        Order


           For the reasons stated on the record,
           IT IS ORDERED that the status conference is CONTINUED to April 30,
           2025, at 11:00 a.m., in Department B, Courtroom 13, Fifth Floor, U.S.
           Courthouse, 2500 Tulare Street, Fresno, California.
           IT IS FURTHER ORDERED that the status report shall be filed and served
           on or before April 23, 2025.
           IT IS FURTHER ORDERED that any dispositive motion must be filed and
           served on or before February 14, 2025.




                       Nov 20, 2024




           Continued Status Conference Re: Third-Party Complaint, Amended Complaint - [163] - Third-Party
           Complaint by IRZ Consulting, LLC against Nucor Building Systems Utah LLC, Valmont Northwest,
           Inc., George Chadwick, MAAS Energy Works, Inc., Laser Land Leveling, Inc., Dari-Tech, Inc., John
           Fazio, 4 Creeks, Inc., U.S. Farm Systems. (fdis)
Filed 11/20/24                                        Case 19-01033                                                Doc 752




                                         Instructions to Clerk of Court
                                    Service List – Not Part of Order/Judgment
                    The Clerk of Court is instructed to send the Order/Judgment or other court
                 generated document transmitted herewith to the parties below. The Clerk of
                 Court will send the Order via the BNC.


        Randy Sugarman                        Aaron Moore                     Duncan C. Turner
        583 1st St W                          1600 West St.                   19910 50th Avenue W.
        Sonoma CA 95476                       Redding CA 96001                Ste 103
                                                                              Lynnwood WA 98036


        Kurt F. Vote                          Kyle D. Sciuchetti              Lindy H. Scoffield
        265 E. River Park Circle, Suite 310   500 Broadway St                 3043 Gold Canal Dr #100
        Fresno CA 93720                       Ste 400                         PO Box 269127
                                              Vancouver WA 98660              Sacramento CA 95826-9127


        Steve Alfieris                        Office of the U.S. Trustee      Boardman Tree Farm, LLC
        502 West Grangeville Blvd             United States Courthouse        Sara L. Chenetz
        Hanford CA 93230                      2500 Tulare Street, Room 1401   1888 Century Park East, Suite 1700
                                              Fresno CA 93721                 Los Angeles CA 90067
